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                           IN THE    UNITED      STATES    DISTRICT   COURT
                          FOR THE    EASTERN DISTRICT          OF VIRGINIA
                                         Richmond Division


UNITED     STATES         OF AMERICA


V.                                                          Criminal No.       3:96CR66
                                                            Civil Action No.              3;16CV764
                                                            Civil Action No.              3;16CV765
CRAIG MURPHY


                                      MEMORANDUM OPINION


        By Memorandum Opinion and Order entered on January 3,                                    2005,

the Court denied a motion under 28 U.S.C.                           § 2255 filed by Craig

Murphy.         (ECF Nos.          110-111.)          On December 9,          2 014,       the Court

received       from        Murphy    a     ''Motion    Pursuant     to    Fed.       R.     Crim.     P.

12(b)(2) Sufficiency of an Information 'Jurisdictional' Defect."

("December           9,     2014     Motion,"         ECF    No.    1894           (capitalization

corrected).)              On October 19, 2015 the Court received from Murphy

a motion seeking relief under Federal Rule of Civil Procedure

60(d)(1)        ("Rule       60(d)       Motion,"     ECF No.      1895).            As    explained

below,      both      the     December        9,    2014    Motion and         the        Rule   60(d)

Motion must be              treated as       a     successive,     unauthorized 28 U.S.C.

§ 2255 Motions.

        First,       to     the    extent     that     Murphy attempts             to     attack     the

Court's        "judgment"         by way of         Federal Rule         of    Civil       Procedure

60(d) (1)       he    may     not     do    so.       United     States       v.     Merica,        Nos.

5:05CR00015,          No.    5:11CV80375,           2011 WL 6325881,          at *2        (W.D.     Va.

Dec.     16,    2011)       (citing United States v.               Mosavi,         138 F.3d 1365,
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1366        (11th     Cir.      1998)).            A    motion        under       Rule      60(d)        is     an

inappropriate             method        of     attacking              a     criminal            conviction.

Moreover to the extent that Murphy intends to use Rule 60(d)                                                    to

directly attach his convictions,                             as discussed below,                 the Court

lacks jurisdiction to consider the motion.

        The    Antiterrorism and               Effective            Death        Penalty Act        of        1996

restricted          the      jurisdiction              of    the    district           courts       to        hear

second        or    successive         applications                for     federal         habeas    corpus

relief by prisoners attacking the validity of their convictions

and sentences by establishing a                             "gatekeeping mechanism."                     Felker

V.    Turpin,       518      U.S.    651,     657        (1996)       (internal        quotation marks

omitted).             Specifically,            " [b]efore             a     second        or     successive

application pemnitted by this section is filed in the district

court,        the     applicant        shall       move       in    the      appropriate          court         of

appeals for an order authorizing the district court to consider

the application."               28 U.S.C. § 2244(b)(3)(A).

        Petitioner           cannot         avoid       that       result        by    simply       omitting

reference to 28 U.S.C.                  §    2255       in his      submission.            See Melton v.

United States,            359 F.3d 855,                857   (7th Cir.           2004);    United States

V.     Winestock,         340    F.3d       200,       207     (4th       Cir.     2003)       (emphasizing

that        inmates    may not         circumvent            the    limitations            on    successive

§ 2255 motions simply by inventive labeling).                                         "Call it a motion

for     a    new      trial,        arrest     of       judgment,          mandamus,           prohibition,

coram        nobis,     coram       vobis,     audita          querela,          certiorari,         capias.
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habeas corpus,          ejectment,       quare impedit           .    .    .    or an application

for a    Get-Out-of-Jail-Card;                the name makes no difference.                        I t is

substance       that        controls."          Melton,     359       F.3d       at      857     {citing

Thurman v.       Gramley,          97 F.3d 185,     186-87        {7th Cir.           1996)).       ^^Any

motion    filed        in    the     district    court     that       imposed         the      sentence,

and substantively within the scope of                        §       2255[(a)],          is a     motion

under § 2255,          no matter what title the prisoner plasters on the

cover."        Id.    (citing Ramunno v. United States,                         264 F.3d 723        (7th

Cir.    2001)) .

        The United States Court of Appeals                           for       the Fourth Circuit

has    held    "that district           courts must        treat Rule            60(b)      motions   as

successive collateral review applications when failing to do so

would allow the applicant to 'evade the bar against relitigation

of claims presented in a prior application or the bar against

litigation of           claims        not presented in a                  prior application.'"

Winestock,       340        F.3d at     200     (quoting    Ca1deron v.               Thompson,       523

U.S.    538,    553     (1998)).        The same rationale applies to Murphy's

Rule 60(d)           Motion.         S^ Merica,      2011 WL 6325881,                  at *2.         The

Fourth        Circuit          has     provided      the         following            guidance         in

distinguishing between a proper Rule 60(b) motion or an improper

successive § 2255 motion or habeas petition:

        [A]      motion            directly       attacking   the    prisoner's
        conviction           or     sentence     will   usually   amount  to  a
        successive application,  while a motion seeking a
        remedy for some defect in the collateral review
        process will generally be deemed a proper motion to
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        reconsider.                      Thus,     a      brand-new,              free-standing
        allegation of constitutional error in the underlying
        criminal judgment will virtually always implicate the
        rules governing successive applications.    Similarly,
        new legal arguments or proffers of additional evidence
        will usually signify that the prisoner is not seeking
        relief             available       under       Rule     60(b)       but     is          instead
        continuing his collateral attack on his conviction or
        sentence.


Id.     at       207       (internal      citation       omitted).           Here,          Murphy's         Rule

60(d)       Motion raises             challenges         to his      convictions,                rather      than

any defects in his federal collateral proceedings.^                                          Accordingly,

the     Court          must    treat       the    Rule    60(d)       Motion       as       a     successive

§ 2255       motion.           The     Court      has    not    received         authorization               from

the     Fourth             Circuit        to     file     the       present        §        2255        motion.

Therefore,             the     Rule       60(d)     Motion          (ECF    No.        1895)        will       be

dismissed for want of jurisdiction.

        With regard to the December 9,                          2014 Motion,           Murphy requests

the Court          "to review De Novo a                  challenge to the sufficiency of

the   information"             and claims          that    the      Court was           ''without proper

jurisdiction to entertain the charges of                                   First degree murder."

(Dec.       9,    2014 Mot.        1.)     Once again.          Murphy attempts to challenge

his     underlying            conviction.           Murphy's         December          9,        2014    Motion

falls       squarely within the ambit of                        §   2255.         The       Court has not

received          authorization            from     the       Fourth       Circuit          to     file      this


additional             §    2255   motion.         Accordingly,            the    December              9,   2014


        ^        Murphy's          main        argument        insists        that           counsel          was
ineffective because he failed to discuss a                                  plea offer with him,
a claim that falls squarely within § 2255.
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Motion        (ECF    No.   18 94)   will    be        dismissed     for    want   of

jurisdiction.

        The Court will deny a certificate of appealability for both

motions.


        The   Clerk   is    directed   to   send   a    copy   of   this   Memorandum

Opinion to Murphy and counsel for the United States.



                                                            /s/
Date:                                   Robert E.       Payne
Richmond, Virginia                      Senior mited States District Judge
